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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNYSLVANIA

COMMONWEALTH OF PENNSYLVANIA,                      : CIVIL ACTION – LAW
PENNSYLVANIA GAME                                  :
COMMISSION,                                        : CASE NO. 1:12-CV-1567
                                                   :
               Plaintiff,                          : JUDGE: Christopher C. Conner
                                                   :
               v.                                  : MAGISTRATE JUDGE:
                                                   : Hon. Susan E. Schwab
THOMAS E. PROCTOR HEIRS TRUST and                  :
the MARGARET PROCTOR TRUST,                        : [ELECTRONICALLY FILED]
                                                   :
                Defendants.                        :
                                                   :


    REPLY OF THE COMMONWEALTH OF PENNSYLVANIA,
   PENNSYLVANIA GAME COMMISSION, TO DEFENDANTS’
  AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO THE
   SECOND AMENDED COMPLAINT WITH COUNTERCLAIM

         NOW, this 13th day of October, 2017, comes the Plaintiff,

Commonwealth of Pennsylvania, Pennsylvania Game Commission (PGC),

by and through its counsel, and makes this REPLY against the above

Defendants and makes the following allegations in support thereof:

     THE PARTIES, JURISDICTION, APPLICABLE LAW, THE

                        PREMISES, AND THE TITLES

1 – 24     The allegations and averments of Plaintiff’s Second Amended

Complaint, Paragraphs 1 through 24 and the Exhibits thereto, are hereby


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incorporated herein by reference as if fully set forth. To the extent the

Defendants aver or reply in a way that alleges new facts, legal conclusions

or legal theories, all such averments and allegations, and the implications

thereof, are denied. To the extent such facts, legal conclusions or theories

apply to something other than the property identified in the Second

Amended Complaint, after reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of the averments and so the same

are denied.

      WHEREFORE, the PGC respectfully requests this Honorable Court to

issue and order:

      1. Pursuant to Pa.R.C.P. 1061(b)(3) against the Defendants to admit

the invalidity of any right, title or interest Defendant, or any of them claim in

the oil and gas estate in, on and under the Premises consisting of

approximately 2,481 acres, more or less, in Davidson and Laporte

Townships, Sullivan County, Pennsylvania, most particularly admit the

invalidity of any interest, right or claim pursuant to the Thomas E. Proctor

Heirs Trust under Declaration of Trust dated October 28, 1980, which is

recorded in Sullivan County in Book 1106, at page 879; or, in the

alternative,

      2.       Pursuant to Pa.R.C.P. 1061(b)(4) to grant possession of the oil


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and gas estate in, on and under the Premises consisting of approximately

2,481 acres, more or less, in Davidson and Laporte Townships, Sullivan

County, Pennsylvania, which was sold at tax sales June 1, 1908, and for

which various deeds were dated December 1, 1908, as set forth in the

Second Amended Complaint, to the PGC; and,

      3.      Such other relief as this Honorable Court may find just and

reasonable.

                        AFFIRMATIVE DEFENSES

      The PGC hereby incorporates by reference the responses to

Paragraphs 1 through 24 as if fully set forth.

      25.     Paragraph 25 sets-forth a legal conclusion to which no response

is required. To the extent a response is required to the allegation that the

Second Amended Complaint fails to state a claim, the allegation is denied.

      26.     Paragraph 26 sets-forth a legal conclusion to which no response

is required. To the extent a response is required to the allegation that the

PGC fails to establish a prima facie title to the Proctor Subsurface Estate in

the properties at issue, the allegation is denied.

      27.     Paragraph 27 sets-forth a legal conclusion to which no response

is required. To the extent a response is required to the allegation that the

claims asserted in the Second Amended Complaint are barred by the


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doctrine of estoppel, the allegation is denied.

      28.    Paragraph 28 set-forth a legal conclusion to which no response

is required. To the extent a response is required to the allegation that the

claims asserted in the Second Amended Complaint are barred by the

doctrine of laches, the allegation is denied.

      29.    Paragraph 29 sets-forth a legal conclusion to which no response

is required. To the extent a response is required to the allegation that the

claims asserted in the Second Amended Complaint are barred by the

doctrine of waiver, the allegation is denied.

      30.    Paragraph 30 sets-forth a legal conclusion to which no response

is required. To the extent a response is required, the PGC, after reasonable

investigation, is unable to form an opinion as to the truth of the allegation

because:

             a.     The “properties at issue” are not defined as either the

      properties in the Second Amended Complaint, or the properties in

      Paragraphs 3, 4 or 5 of Defendants’ Counterclaim;

             b.     The “Proctor Subsurface Estate” is defined as “the

      subsurface estate, right and interests reserved by Thomas E. Proctor,

      Sr. and Emma H. Proctor and also specifically conveyed to Emma H.

      Proctor and her heirs” (Initial Paragraph 2), or alternatively as that


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      subsurface estate under the “Disputed Property” (Paragraph 9 of

      Defendants’ Counterclaim) and “Disputed Property” is defined as

      State Game Lands 12, 13 and 36, which is comprised of 92,995.15

      acres (Paragraph 5 of Defendants’ Counterclaim); and,

             c.     The Defendants’ Counterclaim, at best, pleads prima

      facie title to a subset of the “Disputed Property.”

      31.    Paragraph 31 sets-forth a legal conclusion to which no response

is required. To the extent a response is required, the PGC, after reasonable

investigation, is unable to form an opinion as to the truth of the allegation.

By way of further answer, to the extent the averment relates to the six (6)

unseated warrants claimed by PGC in its Second Amended Complaint, the

averment is denied.

      32.    Paragraph 32 sets-forth a legal conclusion to which no response

is required. To the extent a response is required, the PGC, after reasonable

investigation, is unable to form an opinion as to the truth of the allegation.

By way of further answer, to the extent the averment relates to the six (6)

unseated warrants claimed by PGC in its Second Amended Complaint, the

averment is denied.

      33.    The PGC avers that there was no separate assessment of the oil,

gas, and mineral estates of the six warrants named in the Second Amended


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Complaint. After reasonable investigation, the PGC is unable to form an

opinion as to the truth or falsity of the Defendants’ remaining averments,

therefore, they are denied.

      34.    Paragraph 34 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, the responses to

Paragraphs 31-33 hereof are hereby incorporated herein by reference.

      35.    Paragraph 35 sets-forth a legal conclusion to which no

response is required. To the extent a response may be required, the

responses to Paragraphs 31-34 hereof are hereby incorporated herein by

reference. It is further denied that Calvin H. McCauley, Jr. was an agent for

Defendants’ predecessors, or that he had a legal or moral obligation to pay

taxes for Defendants’ predecessors.

      36.    Paragraph 36 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC denies the statements with regard to the six warrants

named in the Second Amended Complaint, as set forth above, and

incorporates by reference the responses to Paragraphs 31-35.

      37.    Paragraph 37 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the


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Defendants’ averments in Paragraph 37 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to

Paragraphs 31-36 herein as if set-forth fully.

      38.    Paragraph 38 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 38 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to

Paragraphs 31-37 herein as if set-forth fully.

      39.    Paragraph 39 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 38 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to

Paragraphs 31-38 herein as if set-forth fully.

      40.    Paragraph 40 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 40 and are therefore denied. To the

contrary, pursuant to the principles set forth in Hutchinson v. Kline, 199 Pa.


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564 (1901); F.H. Rockwell & Co. v. Warren County, 228 Pa. 430 (1910);

Proctor v. Sagamore Big Game Club, 155 F.Supp. 465 (W.D. Pa., 1958);

Herder Spring v. Keller, 143 A.3d 358 (2016); and, Cornwall Mountain

Investments v. Thomas E. Proctor Heirs Trust, et al, 158 A.3d 148

(Pa.Super. 2017), a purchaser of unseated land at a tax sale could, at all

times relevant to this litigation, acquire a title to the whole of an unseated

warrant that was not separately assessed. By way of further response, the

PGC hereby incorporates by reference the responses to Paragraphs 31-39

herein as if set-forth fully.

       41.    Paragraph 41 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 41 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to

Paragraphs 31-40 herein as if set-forth fully.

       42.    Paragraph 42 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 42 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to


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Paragraphs 31-41 herein as if set-forth fully.

      43.    Paragraph 43 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 43 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to

Paragraphs 31-42 herein as if set-forth fully.

      44.    Paragraph 44 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 44 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to

Paragraphs 31-38 herein as if set-forth fully.

      45.    Paragraph 45 sets-forth a legal conclusion to which no response

is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 45 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to

Paragraphs 31-44 herein as if set-forth fully.

      46.    Paragraph 46 sets-forth a legal conclusion to which no response


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is required. To the extent a response may be required, after reasonable

investigation, the PGC is unable to form an opinion as to the truth of the

Defendants’ averments in Paragraph 46 and are therefore denied. By way of

further response, the PGC hereby incorporates by reference the responses to

Paragraphs 31-45 herein as if set-forth fully.

      WHEREFORE, the PGC respectfully requests this Honorable Court to

issue and order:

      1. Pursuant to Pa.R.C.P. 1061(b)(3) against the Defendants to admit

the invalidity of any right, title or interest Defendant, or any of them claim in

the oil and gas estate in, on and under the Premises consisting of

approximately 2,481 acres, more or less in Davidson and Laporte

Townships, Sullivan County, Pennsylvania, most particularly admit the

invalidity of any interest, right or claim pursuant to the Thomas E. Proctor

Heirs Trust under Declaration of Trust dated October 28, 1980, which is

recorded in Sullivan County in Book 1106, at page 879; or, in the

alternative,

      2.       Pursuant to Pa.R.C.P. 1061(b)(4) to grant possession of the oil

and gas estate in, on and under the Premises consisting of approximately

2,481 acres, more or less in Davidson and Laporte Townships, Sullivan

County, Pennsylvania, which was sold at tax sales June 1, 1908, and for


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which various deeds were dated December 1, 1908, as set forth in the

Second Amended Complaint, to the PGC; and,

      3.      Such other relief as this Honorable Court may find just and

reasonable.

                             COUNTERCLAIM

      1.      Admitted in part, denied in the remainder. It is admitted that

there is a dispute between the parties with respect to the six warrants named

in Plaintiff’s Second Amended Complaint. After reasonable investigation,

the PGC is unable to form an opinion as to the nature and extent of the

dispute in regard to some unseated warrants located in Sullivan and Bradford

Counties, so the same is denied and strict proof thereof is demanded.

      2.      Denied. Sullivan County Deed Book 21, Page 376 (not 375),

speaks for itself and includes all or parts of the warrants named in

Defendants’ Counterclaim Paragraph 2, but also includes various exceptions

and reservations and a larger number of other warrants not named. The

quality of the title (which is a legal conclusion to which no response is

required) depends upon the chain of title prior to that time. It is specifically

denied that the Named Warrants comprise State Game Lands No. 13. To the

contrary, some of the Named Warrants are part of State Game Lands 13.

      3.      Denied. Bradford County Deed Book 152, page 291 is a deed


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to Thomas E. Proctor and Jonathan A. Hill; Bradford County Deed Book

169, page 326 is a deed to Thomas E. Proctor and Jonathan A. Hill; Bradford

County Deed Book 197, page 270 is a deed to Thomas E. Proctor and

Jonathan A. Hill; Sullivan County Deed Book 14, page 230 is a deed to

Thomas E. Proctor and Jonathan A. Hill; Sullivan County Deed Book 14,

page 233 is a deed to Jonathan A. Hill (Proctor is not mentioned); Sullivan

County Deed Book 14, page 658 is a deed to Thomas E. Proctor and J.A.

Hill trading and doing business as Proctor and Hill; and, Sullivan County

Deed Book 17, page 468 (not 463) is a deed to Thomas E. Proctor. The

deeds speak for themselves. They include all or parts of the warrants named

in Defendants’ Counterclaim Paragraph 3, but also include various

exceptions and reservations and a larger number of other warrants or tracts

not named. The quality of the title (which is a legal conclusion to which no

response is required) depends upon the chain of title prior to that time.

Because most of these deeds are not solely to Thomas E. Proctor, or not to

Thomas E. Proctor at all, the quality of title also depends upon the chain of

title after the date of the respective deed. After reasonable investigation, the

PGC has not completed title searches for all these properties and Defendants

have not supplied any title searches or pled any title except for the bare

assertion of title by deeds which, on their face, do not give Thomas E.


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Proctor fee title. It is specifically denied that the Named Warrants comprise

State Game Lands No. 12. To the contrary, some of the Named Warrants

are part of State Game Lands 12.

      4.     Denied. Bradford County Deed Book 172, page 99 is a deed to

Thomas E. Proctor and Jonathan A. Hill. The deed speaks for itself. It

includes all or parts of the warrants named in Defendants’ Counterclaim

Paragraph 4. The quality of the title (whether in fee, fee simple, or a lesser

estate) depends upon the chain of title. It is specifically denied that the

Named Warrants comprise State Game Lands No. 36.

      5.     Denied. State Game Lands 13 is comprised of approximately

49,528.70 acres and State Game Lands 36 is comprised of approximately

18,987.29 acres. Neither the various Named Warrants nor the various

Referenced Warrants contain a total acreage of this magnitude.

   A. The Proctor Reservation

      6.     Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 6 and the same is denied and strict proof demanded.

      7.     Denied. To the contrary, State Game Land 13 is much larger

than the deeds referenced by the Defendants in the Defendants’

Counterclaim. Further, the deed referenced in Defendants’ Paragraph 6 of


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the Counterclaim speaks for itself.

      8.     Denied. State Game Lands 12 is comprised of approximately

24,479 acres, and State Game Lands 36 is comprised of approximately

18,987.29 acres, for a total of 43,466.29 acres. Bradford County Deed Book

205, page 436 is a deed from Thomas E. Proctor and wife, and Jonathan A.

Hill, and wife, to Union Tanning Company. The deed speaks for itself, but

contains approximately 26,548.7 acres. By its very terms, any reserved

interest would have been owned by both Thomas E. Proctor and wife and

Jonathan A. Hill and wife. After reasonable investigation, the PGC is unable

to form an opinion as to whether all of the warrants named as being owned

by Defendants are included within Deed Book 205, page 436, nor whether

all the warrants are on Game Lands, so the same is denied and strict proof

demanded.

      9.     Denied. To the contrary, much of the minerals, coal, oil, gas or

petroleum under the “Disputed Property,” has nothing at all to do with the

Defendants. By way of further reply, there is no definition of the “Bradford

County and Sullivan County Properties,” the reservations which allegedly

constitute the “Proctor Reservation.” After reasonable investigation, the

PGC denies that either of these terms make any sense whatsoever, and strict

proof is demanded.


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      10.        Denied. After reasonable investigation, the PGC is without

sufficient information to form a belief as to the truth of the allegations

contained in Paragraph 10 of Defendants’ Counterclaim. By way of further

reply, the averments contained in Paragraph 11 of Plaintiff’s Second

Amended Complaint are hereby incorporated by reference as if set-forth

fully herein.

      11.        Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 11, so the same is denied.

      12.       Denied. Paragraph 12 of Defendants’ Counterclaim is a

conclusion of law, to which no response is required, so the same is denied

and strict proof demanded. By way of further reply, if this reconveyance by

O.B. Grant operated to return all interests as they were prior to the tax sale

(which is denied), that includes the interests of Jonathan A Hill.

      13.        Denied. Paragraph 13 is a legal conclusion to which no

response is required. To the extent a response is required, Defendants

pleading does not support this conclusion of law by deed reference or other

legal theory, so the same is denied and strict proof demanded.

      14.       Denied. It is averred to the contrary upon information and

belief, that the tax assessment record is devoid of any reference to the


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Proctor Reservation or the Proctor Subsurface Estate.

      15.      Denied. To the contrary, the deeds speak for themselves. After

reasonable investigation, the PGC is currently without information sufficient

to form an opinion whether or not all interests of Union Tanning Company

in the “Disputed Property” was conveyed as stated, so the same is denied

and strict proof demanded.

      16.      Denied. The instruments speak for themselves. After

reasonable investigation, the PGC is currently without information sufficient

to form an opinion whether or not all interests of Union Tanning Company

in the “Disputed Property” were reserved as stated, so the same is denied

and strict proof demanded.

      17.      Denied. After reasonable investigation, the PGC is without

knowledge or information sufficient to form an opinion as to the truth or

falsity of Paragraph 17, so the same is denied.

      18.      Denied. To the contrary, at best, a portion of the “Disputed

Property” was assessed in the name of CPLC. The remainder of Paragraph

18 of Defendants’ Counterclaim is a legal conclusion to which no response

is required.

      19.      Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim


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Paragraph 19, so the same is denied. To the extent an answer is deemed

necessary the PGC avers that the subsurface interests in the Disputed

Property were most assuredly assessed somewhere, at sometime.

      20.   Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 20, so the same is denied and strict proof demanded.

      21.   Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 21, so the same is denied and strict proof demanded.

      22.   Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 22, so the same is denied.

      23.   Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 23, so the same is denied.

      B.    The Tax Sales

      24.    Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 24, so the same is denied.

      25.    Denied. After reasonable investigation, the PGC is unable to


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form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 25, so the same is denied.

      26.     Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 26, so the same is denied. To the contrary, the averment does not

appear to be supported by the course of conduct of the parties or the

Defendants’ allegations in its Counterclaim.

      27.     Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 27, so the same is denied.

      28.     Denied. After reasonable investigation, the PGC is unaware

of any evidence Calvin H. McCauley, Jr., was an attorney and real estate

agent for CPLC in 1908.

      29.     Denied. The response to Defendants’ Counterclaim Paragraph

28 is hereby incorporated herein by reference as if fully set forth.

      30.     Denied. With respect to the six unseated warrants named in

the Second Amended Complaint, the PGC provided the recording references

on Exhibit B to the Second Amended Complaint. After reasonable

investigation, the PGC is without knowledge or information sufficient to

form an opinion as to the truth or falsity of whether McCauley “gave


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notice,” or “recorded any [other] tax deeds associated with the Disputed

Property.”


       31.     Denied. After reasonable investigation, the PGC is without

knowledge or information sufficient to form an opinion as to the truth or

falsity of Defendants’ Counterclaim Paragraph 31. To the contrary, the PGC

incorporates it response to Defendants’ Counterclaim Paragraph 30 as if

fully set forth.

       32.    Denied. The PGC avers to the contrary the tax sales to O.B.

Grant for the six unseated warrants named in the Second Amended

Complaint and the tax sales to McCauley for the same unseated warrants

were all acknowledged in open court as set forth on Exhibit B to the Second

Amended Complaint. As no other tax sales are pled, the PGC is without

knowledge or information sufficient to form an opinion as to the truth or

falsity, so the same is denied and strict proof demanded.

       33.    Denied. After reasonable investigation, the PGC is unable to

form an opinion as to the truth or falsity of Defendants’ Counterclaim

Paragraph 33.

       34.     Denied. The response to Defendants’ Counterclaim, Paragraph

33, is hereby incorporated herein by reference as if fully set forth.

       35.    Denied. After reasonable investigation, the PGC is currently

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without sufficient knowledge or information to form an opinion as to the

truth or falsity of Defendants’ Counterclaim Paragraph 35.

      36.    Denied. To the contrary, in 1910, McCauley and his wife

conveyed their interests as acquired by tax sale to CPLC via quitclaim deeds

for the six warrants named in the Second Amended Complaint. After

reasonable investigation, the PGC is currently without sufficient information

to form a belief as to how many other warrants in the Disputed Property may

have gone through tax sale at the same time with the same purchaser and

with the same result, so the same is denied.

      37.    Denied. After reasonable investigation, the PGC is without

sufficient information to form a belief as to how all warrants in Bradford and

Sullivan County with regard to the casually defined “Disputed Property,”

were assessed during this time period, so the same is denied. By way of

further answer, the tax assessment records for the six unseated warrants

showed the sale to McCauley during the time period 1908 to 1910.

      C.     Post-Tax Sale Transactions Demonstrate that CPLC and

the Game Commission Did Not Believe that the Tax Sales “Washed” the

Proctor Subsurface Estate

      38.    Denied. With respect to the first sentence of Defendants’

Counterclaim Paragraph 38, the averment is specifically denied. To the


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contrary, CPLC was aware of the law relating to tax sales of unseated land.

With respect to the second sentence of Defendants’ Counterclaim Paragraph

38, the averment is specifically denied. To the contrary, there were

numerous conveyances from CPLC to PGC over time and the instruments

speak for themselves.

      39.    Denied. To the contrary, the deed referenced in Defendants’

Counterclaim Paragraph 39 does not convey the “surface estate,” of State

Game Lands 12. By way of further answer, the deed at Bradford County

Deed Book 376, page 99 speaks for itself and also contains the language:

      [B]ut all the right, title and interest of the Central Pennsylvania
Lumber Company, its successors and assigns, in possession, remainder or
reversion in the said minerals and rights above mentioned [including the
sentence quoted in Defendants’ Counterclaim Paragraph 39], are hereby
granted and conveyed to the Commonwealth of Pennsylvania.


      40.     Denied. The deed in Bradford County Deed Book 377, page

208 (which includes the “at 211” reference of Defendants in this Paragraph

of Defendants’ Counterclaim) speaks for itself and also contains the

language (immediately following the ellipses):

       [B]ut hereby conveying all interest of the above named grantor
[CPLC], its successors and assigns in possession, remainder or reversion in
said oil, gas, coal or other minerals, in, under and upon the two tracts herein
described, the intention of the grantor being not to make any additional
reservations.

      By way of further answer, the deed referenced in Defendants’

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Counterclaim Paragraph 40 does not convey, “State Game Lands 36,” but

merely a portion thereof.

       41.     Denied. To the contrary, there is no evidence that shows or

will show that CPLC did not believe that the unspecified 1908 tax sale of

unspecified property had any effect on the Proctor reservation or the

unspecified Union Tanning 1903 reservation of bark rights. The response to

Paragraph 16 of Defendants’ Counterclaim is hereby incorporated herein by

reference as if fully set forth.

       42.    Denied. After reasonable investigation, the PGC is without

knowledge or information sufficient to form an opinion as to the truth or

falsity of the conclusions stated in Paragraph 42 of Defendants’

Counterclaim, so the same are denied. To the contrary, it is averred that the

protective actions of CPLC, Union Tanning and Elk Tanning are not

relevant to the question of whether the entire estate passed through tax sale

on specified warrants by operation of law.

       43.    Denied. To the contrary, all of CPLC’s interests in State Game

Land No. 13 were not conveyed in 1924 by the referenced deed.

       44.     Denied. After reasonable investigation, the PGC is without

sufficient information to form an opinion as to the truth or falsity of

Defendants’ Counterclaim Paragraph 42, so the same is denied. By way of


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further reply, the PGC hereby incorporates by reference its responses to

Paragraphs 16, 41, and 42 of this response to Defendants’ Counterclaim.

       45.    Denied. To the contrary, CPLC did not convey all of its

interests in State Game Lands Nos. 12 and 36 by the two referenced deeds.

By way of further response, the responses to Paragraphs 39 and 40 of this

Response to Defendants’ Counterclaim are hereby incorporated herein by

reference as if fully set forth.

       46.     Denied. The PGC does not own all oil, gas and mineral rights

on Pennsylvania State Game Lands. However, the PGC specifically denies

the characterization as the “bulk” of State Game Lands, as well as the

implication of Defendants’ characterization that any such recognition means

that the PGC does not own the oil, gas and mineral rights it has claimed in

this case.

       47.    Denied. To the contrary, the PGC has asserted that rights of

Thomas E. Proctor were conveyed at tax sales of unseated properties and

that some of them would be owned by the PGC.

       48.    Denied. The PGC entered into a Restricted Surface Use

Cooperative Agreement for Exercise of Production Rights for Oil and Gas,

dated February 2, 2013, with Chief Exploration and Development, LLC.

This Agreement was for a tract on State Game Lands 36 designated as 36A-


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13. It included 5,870 acres of the total of 18,987.29 acres of State Game

Lands No. 36. This Agreement provided for payment of a bonus on “net

acres” after title work revealed the owner of the oil and gas. The PGC

entered into a Restricted Surface Use Cooperative Agreement for Exercise

of Production Rights for Oil and Gas dated October 1, 2013, with Chief

Exploration and Development, LLC. This Agreement was for a tract on

State Game Lands 12 designated as 12A-13. It included 19,133 acres of the

24,479.20 acres of State Game Land No. 12. This Agreement also provided

for payment of a bonus on “net acres” after title work revealed the owner of

the oil and gas. Any payments not identified as due and owing to PGC are

paid into escrow.

      COUNT 1 – QUIET TITLE

      49.     The PGC hereby incorporates by reference the responses set

forth in the foregoing paragraphs as though fully set forth herein.

      50.     Denied. After reasonable investigation, the PGC is without

information sufficient to form an opinion as to the truth or falsity of

Defendants’ Counterclaim Paragraph 50, so the same is denied.

      51.     Denied. It is specifically denied that Defendants hold title to

the natural gas and oil contained in the “Disputed Property.” To the

contrary, the Defendants have neither plead a prima facie case of ownership


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nor demonstrated title to, “[t]he natural gas and oil contained in the Disputed

Property.”

      52.     Denied. It is specifically denied that the PGC took actions to

cloud any title actually owned by Defendants. To the contrary, and upon

information and belief, it was the actions (and inaction) of the Defendants’

predecessors that placed a cloud, if any, upon title in the “Disputed

Property,” actually owned by the Defendants.

      53.     Admitted in part; denied in the remainder. It is admitted that

the PGC has made claims to ownership of oil and gas under portions of State

Game Lands 12, 13 and 36, to the extent such lands are “associated with the

Disputed Property,” and entered into agreements as set forth in Paragraph

48, above. It is specifically denied that the PGC claimed ownership of

interests actually owned by Defendants or attempted to convey Defendants’

interests in the oil and gas associated with the “Disputed Property.” By way

of further response, the reponses to Paragraphs 47 and 48 are hereby

incorporated herein by reference as if fully set forth.

      54.     Denied. Defendants’ Counterclaim Paragraph 54 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, the PGC specifically denies that the

unspecified 1908 tax sales and tax deeds had no effect on the title of the


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Proctor Heirs (including the Trusts) to unspecified property of the “Proctor

Subsurface Estate.” To the contrary, the numerous deeds and tax sales had

an effect on the title held by the Defendants predecessors to the “Proctor

Subsurface Estate.”

         55.   Denied. Defendants’ Counterclaim Paragraph 55 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, it is specifically denied that the

unspecified 1908 tax sales and tax deeds did not affect the title to the

unspecified interests of the Proctor Heirs (including the Trusts). To the

contrary, upon information and belief, the Defendants’ predecessors were

noticed of the regular, biennial tax sales and declined the opportunity to be

heard.

         56.   Denied. Defendants’ Counterclaim Paragraph 56 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, it is specifically denied that the

unspecified 1908 tax sales and tax deeds did not affect the title to the

unspecified interests of the Proctor Heirs (including the Trusts). To the

contrary, upon information and belief, the unspecified “Tax Deeds” were not

the product of fraud.

         57.   Denied. Paragraph 57 of Defendants’ Counterclaim states a


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conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, it is specifically denied that the

unspecified 1908 tax sales and tax deeds had no effect on the title of the

Defendants’ predecessors (including the Trusts). By way of further

response, the PGC specifically denies that there was not sufficient basis to

value, assess, or tax the natural gas or oil rights, and avers there could be no

assessment of those reserved rights when they were not reported to the tax

assessor. In addition, the PGC avers that there was oil and gas production in

the Commonwealth, in areas sufficiently similar to those on State Game

Lands 12, 13, and 36, to give rise to a belief in Defendants’ predecessors that

there was something to reserve; whether there was production from the

“Disputed Property” or unspecified, “nearby areas” is irrelevant in the face

of production in similar areas of the Commonwealth. Finally, the PGC avers

there was production in areas of the Commonwealth similarly situated as

State Game Lands 12, 13 and 36 that, even if this is relevant, it is incorrect,

and there was sufficient basis to value interests actually reported.

      58.     Denied. Paragraph 57 of Defendants’ Counterclaim states a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, it is specifically denied that the

unspecified 1908 tax sales and tax deeds had no effect on the title of the


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Defendants’ predecessors (including the Trusts). By way of further

response, the PGC avers that fourteen years without insisting on a separate

assessment or creating a record that a separate assessment was requested or

demanded proves that no such reporting of the separate estate was made.

      59.     Denied. The PGC is without sufficient information to form a

belief as to the truth of the sentences contained in Defendants’ Counterclaim

Paragraph 59, so the same are specifically denied. To the contrary, upon

information and belief, CPLC believed it was transferring all interests it

owned, including subsurface interests, to the PGC.

      60.     Denied. Defendants’ Counterclaim Paragraph 60 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, the PGC avers that the Defendants are

bound by the tax sales in their chains of title, the inaction of Defendants’

predecessors, and the law that existed at the time of those sales.

      61.    Denied. Defendants’ Counterclaim Paragraph 61 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, the law does not support the theory put-

forth by Defendants that a tax sale of unseated land does not pass all

interests not separately assessed; the Defendants’ averments are, therefore,

specifically denied.


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      62.    Denied. Defendants’ Counterclaim Paragraph 62 is a

conclusion of law to which no response is required, so the same is denied.

      63.    Denied. Defendants’ Counterclaim Paragraph 63 is a

conclusion of law to which no response is required, so the same is denied.

      64.    Denied. Defendants’ Counterclaim paragraph 64 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, the PGC avers that the Act of 1815, on

its face or as applied, did afford due process to the Defendants predecessors,

as discussed and set forth in Herder Spring v. Keller, 143 A.3d 358 (Pa.

2016).

      65.     Admitted.

      COUNT II – CONVERSION

      66.     The PGC hereby incorporates by reference the responses set

forth in the foregoing paragraphs as though fully set forth herein.

      67.    Denied. It is specifically denied that the PGC deprived the

Defendants of anything; to the contrary, it has sought a legal determination

of the title to six unseated warrants as set forth and described in the Second

Amended Complaint.

      68.    Denied. The PGC has permitted the use of its property and

lawfully allowed the production of natural gas from State Game Lands 12


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and 36 in accordance with PGC title. The response to Paragraph 48 is

hereby incorporated herein by reference as if fully set forth.

      69.     Denied. It is specifically denied that the Defendants have

suffered any damages as a result of the unauthorized production and sale of

natural gas from the Disputed Property in any amount. To the contrary, the

Defendants have suffered no damages as alleged.

      COUNT III – UNJUST ENRICHMENT

      70.     The PGC hereby incorporates by reference the responses set

forth in the foregoing paragraphs as though fully set forth herein.

      71.     Denied. Defendants’ Counterclaim paragraph 71 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, the PGC hereby incorporates the

responses to Defendants’ Counterclaim Paragraph 48 as if fully set forth.

      72.     Denied. Defendants’ Counterclaim paragraph 72 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, the PGC hereby incorporates the

responses to Defendants’ Counterclaim Paragraph 48 as if fully set forth.

      73.     Denied. Defendants’ Counterclaim paragraph 73 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, the PGC hereby incorporates the


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responses to Defendants’ Counterclaim Paragraph 48 as if fully set forth.

      74.     Denied. Defendants’ Counterclaim paragraph 74 is a

conclusion of law to which no response is required, so the same is denied.

To the extent a response is required, the PGC hereby incorporates the

responses to Defendants’ Counterclaim Paragraph 48 as if fully set forth.

      WHEREFORE, the PGC respectfully requests this Honorable Court to

grant judgment in its favor and against the Defendants as follows:

      a.      That the Court enter an order finding no conversion or unjust

enrichment;

      b.      That the Court enter judgment that the PGC has title with

respect to the oil, gas, and minerals where the law and facts show as vested

in the PGC; and,

      c.      That the Court grant such other relief as it shall deem just and

equitable under the circumstances.

                           AFFIRMATIVE DEFENSES

      75.     The PGC hereby incorporates by reference the responses set

forth in the foregoing paragraphs as though fully set forth herein.

      76.     The Defendants’ claims are moot or otherwise not justiciable.

      77.     The Defendants’ claims are unripe or otherwise not justiciable.

      78.     The Defendants fail to establish prima facie title.


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      79.     The Defendants’ claims fail to state a claim upon which relief

can be granted.

      80.     The Defendants’ claims are barred by the doctrine of estoppel.

      81.     The Defendants’ claims are barred by the doctrine of laches.

      82.     The Defendants’ claims are barred by the statute of limitations.

      83.     The Defendants’ claims are barred by the statute of frauds.

      84.     The Defendants’ claims are barred by the doctrine of waiver.

      85.     The Defendants’ claims are barred as a collateral attack.

      86.     The Defendants’ claims are barred by the doctrine of res

judicata.

      WHEREFORE, the PGC respectfully requests this Honorable Court to

grant judgment in its favor and against the Defendants as follows:

      a.      That the Court enter an order finding no conversion or unjust

enrichment;

      b.      That the Court enter judgment that the PGC has title with

respect to the oil, gas, and minerals where the law and facts show as vested

in the PGC; and,

      c.      That the Court grant such other relief as it shall deem just and

equitable under the circumstances.




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                                COUNTERCLAIM

                   COUNT I TORTIOUS INTERFERENCE

      87.    The PGC hereby incorporates by reference the responses set

forth in the foregoing paragraphs as though fully set forth herein.

      88.    Chief Operating, LLC (Chief), and the PGC entered into

Restricted Surface Use Cooperative Agreements for the Exercise of

Production Rights for Oil and Gas on portions of State Game Lands 12 and

36 as referenced herein in Paragraph 48.

      89.    Upon information and belief, Chief has secured all consents

and agreements necessary, including from Defendants and Defendants’

predecessors, to explore for and produce oil and gas from State Game Lands

12 and 36 in the areas covered by the Agreements referenced in Paragraph

48.

      90.    The PGC forewent bidding its interests in State Game Lands

12 and 36 because Chief was in a unique business position to complete and

pay for all necessary title work and surveys, and conduct orderly

development of oil and gas.

      91.    At the time of the filing of the Second Amended Complaint

and the Defendants’ Counterclaims, areas of dispute on State Game Lands

12 and 36 had not been identified and no discussion between the PGC and


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Defendants occurred with regard to whether or not an actual dispute exists.

      92.    Upon information and belief, Defendants are aware of Chief’s

agreements with PGC as referenced in Paragraph 48 and of Chief’s orderly

title and survey work in connection with said agreements.

      93.     The chains of title for the properties comprising State Game

Lands 12 or 36 are in different counties; the tax sale dates are different; the

specific facts are different; and, the deeds and reservations present in the

chains of title are different from the chains of title for the properties

comprising State Game Lands 13.

      94.     Upon information and belief, the Defendants are aware, or

should be aware, of these differences between these properties.

      95.     Defendants’ Counterclaims purposefully and improperly

conflate the circumstances relating to all the properties to which they could

possibly claim an interest.

      96.     The Counterclaims purposefully and improperly conflate the

scope of the property included in the “Proctor Subsurface Estate,” as the

whole of State Game Lands 12, 13 and 36, and totally ignore the complex

web of agreements and consents under which Chief operates.

      97.     The Defendants filed their Counterclaims against the PGC

intending to harm the PGC by compelling it to expend time and resources to


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defend against claims with respect to State Game Lands 12 and 36 which

have no basis in fact and would not exist had the orderly development and

research been completed by Chief.

      98.    The PGC has in-fact been compelled to expend time and

resources to defend against such claims.

      99.    The PGC lost the benefit of its bargain with Chief because of

the Defendants’ intentional and improper assertion of a claim to all of State

Game Lands 12 and 36, and the orderly determination of issues at less cost

to the PGC which was bargained-for by PGC in the Agreements with Chief.

      100. There is no justification or privilege that is, “[s]anctioned by the

rules of the game which society has adopted,” (Empire Trucking v. Reading

Anthracite Coal, 71 A.3d 923 at 934 (Pa. Super. 2013)) excusing

Defendants’ Counterclaim with respect to the whole of State Game Lands 12

and 36, when the actual claim remains unidentified and unripe.

      101. The amount of time and resources spent to defend these claims

is in excess of $75,000.00.

      WHEREFORE, the PGC respectfully requests this Honorable Court to

grant judgment in its favor and against the Defendants as follows:

      a.     That the Court enter an order declaring that the Defendants

tortiously interfered with the PGC’s contractual relationship with a third


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party;

         b.   That the Court enter judgment against the Defendants for

damages suffered by PGC, prejudgment interest, and costs; and,

         c.   That the Court grant such other relief that it shall deem just and

equitable under the circumstances.



                                  Respectfully submitted,
                                  PENNSYLVANIA GAME COMMISSION



DATE: October 13, 2017            /s/ Bradley C. Bechtel
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                     CERTIFICATE OF SERVICE

      I, Bradley C. Bechtel, Esquire, Chief Counsel of the Pennsylvania

Game Commission, hereby certify the foregoing Reply of the

Commonwealth of Pennsylvania, Pennsylvania Game Commission, to

Defendants’ Amended Answer and Affirmative Defenses to the Second

Amended Complaint with Counterclaims was served upon the following via

the Court’s CM/ECF system this 13th day of October 2017:

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                                       /s/ Bradley C. Bechtel
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